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                                   4                                        UNITED STATES DISTRICT COURT

                                   5                                      NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SECURITIES AND EXCHANGE                             Case No. 23-cv-06003-WHO
                                         COMMISSION,
                                   8                         Plaintiff,                      ORDER DENYING MOTION TO
                                   9                                                         DISMISS AND SETTING CASE
                                                   v.                                        MANAGEMENT CONFERENCE
                                  10
                                         PAYWARD, INC., et al.,                              Re: Dkt. No. 25
                                  11                         Defendants.
                                  12
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                                  13          The United States Securities and Exchange Commission (the “SEC” or the “Commission”)

                                  14   is suing Payward, Inc. and Payward Ventures (d/b/a “Kraken”) under Sections 5, 15(a), and

                                  15   17A(b) of the Securities Act, alleging that Kraken acts as a broker, dealer, exchange, and clearing

                                  16   agency with respect to what the SEC refers to as “crypto asset securities” without registering with

                                  17   the SEC. Kraken does not deny it never registered with the agency, but says that it does not need

                                  18   to because the transactions it enables on its platform do not involve securities and do not fall

                                  19   within the SEC’s regulatory purview. But the SEC has plausibly alleged that at least some of the

                                  20   cryptocurrency transactions that Kraken facilitates on its network constitute investment contracts,

                                  21   and therefore securities, and are accordingly subject to securities laws. The motion is DENIED.

                                  22                                               BACKGROUND

                                  23          A.        Cryptocurrency Generally
                                  24                    1.         Assets
                                  25          A cryptocurrency is a digital, encrypted, and decentralized medium of exchange.

                                  26   Individual units are often referred to as “crypto coins,” “crypto assets,” “digital assets,” or

                                  27   “tokens.” Compl. ¶ 18. They are traded on electronic platforms like Kraken, operated by the

                                  28   defendants. They are transferred and secured using “blockchain” technology. A blockchain or
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                                   1   distributed ledger is a database that is spread across a network of individual computers that records

                                   2   transactions in “theoretically unchangeable, digitally recorded data packages.” Id. ¶ 19. These

                                   3   data packages are referred to as “blocks.” Id. Blockchains typically rely on cryptographic

                                   4   techniques to securely record transactions. Id. Some crypto assets are “native” to a particular

                                   5   blockchain. Id. ¶ 20. This means that they are the blockchain’s central asset that is integral to

                                   6   how that blockchain operates. Id. Other crypto assets are “non-native,” meaning that they are

                                   7   built on top of an existing blockchain. Id.

                                   8          Crypto asset owners usually store critical information on a piece of hardware or software

                                   9   called a “crypto wallet.” Crypto wallets can be used to store the public and private “key”

                                  10   associated with a particular crypto asset so that the owner can engage in transactions on the

                                  11   blockchain associated with that asset. Id. ¶¶ 21-22. A private key is analogous to a password and

                                  12   provides the ability to transfer a crypto asset, whereas a public key is more akin to a blockchain
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                                  13   address and can be freely shared with others. Id. Whoever controls the private key to a crypto

                                  14   asset, controls that asset. Crypto wallets are sometimes connected to the internet, but not always.

                                  15                  2.      Transfer of Assets
                                  16          Crypto assets may be transferred directly on the relevant blockchain, or they may be

                                  17   transferred through a third-party intermediary. Id. ¶ 23. If a transfer is verified and recorded on

                                  18   the relevant blockchain’s publicly available ledger, that is known as an “on-chain” transaction. Id.

                                  19   ¶ 23.1 If a transfer occurs without being submitted to, verified by, or recorded on a blockchain,

                                  20   that is known as an “off-chain” transaction. Id. Crypto asset trading platforms like Kraken’s offer

                                  21   a place to engage in “off-chain” transactions. Id. ¶¶ 24, 30.

                                  22

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                                         Some blockchains use a “consensus mechanism” to verify transactions. Id. ¶ 25. A consensus
                                       mechanism refers to a protocol used by a blockchain to agree on, for example, which ledger
                                  24   transactions are valid, when, how, and whether to update the blockchain, and whether to
                                       compensate certain participants for validating transactions and adding new blocks of
                                  25   cryptocurrency. Id. Two common consensus methods are known as “proof of work” and “proof
                                       of stake.” Id. ¶ 27. Proof of work consensus involves a network of computers (known colloquially
                                  26   as “miners”) using computational effort to guess the numerical value of a number predetermined
                                       by the cryptocurrency network. The first miner who guesses correctly earns the right to update the
                                  27   blockchain with a block of transactions and is rewarded with the blockchain’s native
                                       cryptocurrency asset. Id. In contrast, proof of stake consensus involves selecting “validators”
                                  28   from a network of crypto asset holders who have “staked” a predetermined minimum number of
                                       crypto assets. Id.
                                                                                         2
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                                                 B.     Kraken
                                   1
                                                 Trading platforms like Kraken allow their customers to deposit fiat (legal tender issued and
                                   2
                                       approved by a country) into bank accounts and crypto assets into wallets controlled by the
                                   3
                                       platform, and then to purchase and sell those assets for fiat or other crypto assets. These
                                   4
                                       exchanges may be conducted on- or off-chain. Compl. ¶ 32. If they are conducted on-chain, the
                                   5
                                       intermediary transfers the purchased crypto asset from the seller’s account into the buyer’s crypto
                                   6
                                       wallet. Id. However, if the purchaser has an account with the intermediary and customer assets
                                   7
                                       are stored in collectively in what is referred to as an “omnibus” wallet, then the transactions can
                                   8
                                       happen off-chain, with the platform recording debits and credits for the transaction internally,
                                   9
                                       without having to transfer crypto assets from one blockchain address to another. Id. ¶¶ 24, 32.
                                  10
                                       These transactions are confirmed outside of the main blockchain network on other platforms, like
                                  11
                                       Kraken.
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                                                 In 2013, Kraken launched its “Kraken Trading Platform,” which allows Kraken customers
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                                  13
                                       to buy and sell crypto assets using an online market. Id. ¶ 39. Kraken also provides services for
                                  14
                                       customers to open accounts, deposit funds, enter orders, and trade crypto assets. Through the
                                  15
                                       Kraken Trading platform and other services that Kraken offers, Kraken customers are able to: (1)
                                  16
                                       submit orders for crypto assets and operate a system that attempts to match those orders; (2) open
                                  17
                                       and maintain customer accounts and holding funds and crypto assets that customers have
                                  18
                                       purchased from Kraken or transferred to Kraken; (3) operate “Instant Buy,” which is a function
                                  19
                                       where Kraken acts as a counterparty for a customer’s request to buy or sell crypto assets; (4)
                                  20
                                       operate the over-the-counter trading desk, which is used to facilitate large crypto asset orders; (5)
                                  21
                                       operate applications that allow Kraken users to access their accounts and place and direct orders;
                                  22
                                       and (6) utilize margin lending for trading in crypto assets.2 See Compl. ¶ 42.
                                  23
                                                 The crypto assets that may be traded on the Kraken Trading Platform and using the Kraken
                                  24
                                       Services may be bought, sold, or exchanged for consideration, including U.S. dollars, other fiat
                                  25
                                       currencies, or other crypto assets. Id. ¶ 48. Each unit of a particular crypto asset on the Kraken
                                  26
                                       Trading Platform trades at the same price as another unit of that same crypto asset. Id. ¶ 49. They
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                                           I will refer to these services as the “Kraken Services” throughout this Order.
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                                   1   are interchangeable. However, Kraken users may buy or sell crypto assets through the Kraken

                                   2   Services at a different price than the contemporaneous price listed on the Kraken Trading

                                   3   Platform. As an example, Kraken could sell a crypto asset through its Instant Buy feature at a

                                   4   different price than the last executed trade or price for which it is currently offered on the Kraken

                                   5   Trading Platform. Id. ¶ 51.

                                   6          The crypto assets offered on the Kraken Trading Platform are available for sale to an

                                   7   individual or institution who creates an account with Kraken. Id. ¶ 52. Kraken customers can

                                   8   learn about certain crypto assets that they may want to purchase on Kraken’s website. Kraken

                                   9   provides information about each crypto asset it makes available for trading, including who created

                                  10   the asset, how it works, its anticipated development, analysis about the future price of the asset,

                                  11   historical information about the price of the asset and any price changes over the past 24 hours and

                                  12   past year, links to purchase the asset on the Kraken Trading Platform or through the Kraken
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                                  13   Services, and information promoting the purchase of the asset. Id. ¶ 54. Kraken does not limit or

                                  14   restrict the number of assets that a user can purchase. In 2020 and 2021, Kraken earned more than

                                  15   $43 billion in revenue from trading-based transactions, generated in part from fees charged to

                                  16   customers, sales of crypto assets to customers, and proprietary trading. Id. ¶ 43. According to the

                                  17   SEC, Kraken does not segregate their customers’ crypto assets from its own assets. Id. ¶¶ 210-12.

                                  18          C.      Assets Traded on Kraken
                                  19          The SEC alleges that Kraken, through the Kraken Trading Platform and Kraken Services,

                                  20   made available for trading crypto assets that are offered and sold as investment contracts, and thus

                                  21   as securities. See Compl. ¶¶ 58-62. These include, but are not limited to, 11 crypto assets labeled

                                  22   with the following trading symbols: ADA, ALGO, ATOM, FIL, FLOW, ICP, MANA, MATIC,

                                  23   NEAR, OMG, and SOL. Because all the SEC must do is plausibly allege that at least one of these

                                  24   crypto assets is being traded as an investment contract to make its claims feasible, I will focus on

                                  25   its factual allegations regarding two crypto assets: ALGO and SOL.

                                  26                  1.      ALGO
                                  27          “ALGO” is a crypto asset that is the native token of the Algorand blockchain. Compl. ¶

                                  28   239. The Algorand blockchain was created by Silvio Micali, and is promoted by the Algorand
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                                   1   Foundation Ltd. Id. ¶¶ 243-45. The Algorand Foundation is responsible for “protocol

                                   2   governance, token dynamics and supporting grassroots, [and] open-source development on the

                                   3   Algorand ecosystem.” Id. ¶ 250. Algorand, Inc., is a company that purports to be focused on

                                   4   “layer-1 development of the Algorand Protocol and enabling Enterprise adoption of Algorand

                                   5   blockchain technology.” Id.

                                   6          The Algorand blockchain uses a consensus algorithm it calls “pure proof-of-stake,” in

                                   7   which each user’s ability to influence the choice of a new block is proportional to its stake (i.e.,

                                   8   number of tokens) in the system. Id. ¶ 239; see also supra n.1. To raise capital, the Algorand

                                   9   Foundation conducted an initial ALGO token sale in June 2019, and sold 25 million tokens at

                                  10   $2.40 per token, raising approximately $60 million. Id. ¶ 243. Before the token sale, the

                                  11   Algorand Foundation promoted the sale on Twitter and posted a link to its website in the

                                  12   promotion. Id. As part of the promotion, the Algorand Foundation advertised a refund policy that
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                                  13   allowed those who purchased ALGO tokens to return those tokens to the Algorand Foundation

                                  14   one year after the June 2019 sale at 90% of the original purchase price. Id. ¶ 244. It explained the

                                  15   rationale behind this offer:
                                                      “We believe in the underlying value of the Algorand blockchain, the
                                  16                  Algo, and the potential of the borderless economy. Our goal is to
                                                      invest in the growth, sustainability and performance of that
                                  17                  economy.” Id. Also prior to the June 2019 token sale, the CEO of
                                                      Algorand, Inc., posted a publicly available article stating: “(a) We will
                                  18                  be holding our founder’s tokens for the long term and will not be
                                                      selling them. (b) We will use our founder’s tokens to participate in
                                  19                  consensus and assist in securing the network, though we will never
                                                      represent more than 49% of the voting. (c) We will use our founder’s
                                  20                  tokens to support the ecosystem and encourage development.”
                                  21   Id. ¶ 252. In August 2019, the Algo Foundation publicly offered ALGO purchasers an early

                                  22   opportunity to exercise the refund opportunity early, and they returned around 20 million tokens to

                                  23   the Algorand Foundation in exchange for a refund that was 85% of the purchase price. Id. ¶ 246.

                                  24   Then, in June 2020, ALGO purchasers who did not refund their tokens in August 2019 were

                                  25   publicly offered a second refund window; purchasers returned approximately 5 million ALGO

                                  26   tokens for a refund that was 90% of original purchase price. Id. Today, ALGO may be bought,

                                  27   sold, and traded on various crypto asset trading platforms in exchange for fiat currency or certain

                                  28   crypto assets. Id. ¶ 248. Kraken is one of those platforms.
                                                                                          5
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                                   1           Kraken first made ALGO available for buying, selling, and trading on its trading platform

                                   2   in January 2020. Id. In February 2022, the Algorand Foundation announced a new section of its

                                   3   website designed to “grow the pipeline of #Algorand developers,” called “AlgoHub.” Id. ¶ 262.

                                   4   Additionally, in a report published in March 2022, the Algorand Foundation publicly stated that it

                                   5   had started a new program to incentivize the “growth of the ecosystem, which is the fundamental

                                   6   need of a maturing blockchain. The program includes a series of loans to help the growth of our

                                   7   DeFi network and to expand the institutional investments in the ecosystem . . . . The Algorand

                                   8   Ecosystem team facilitates the development and growth of the ecosystem and developer

                                   9   pipeline[.]” Id. ¶ 260.

                                  10           In May 2022, the Algorand Foundation publicly stated that it would replace the

                                  11   participation rewards that ALGO holders were entitled to receive with “governance rewards.” Id.

                                  12   ¶ 258. “Governance” was described as a “decentralized program which allows Algo holders to
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                                  13   vote on the future of Algorand,” and as “the best way to earn rewards for holding Algo, with

                                  14   [annual percentage yield] of 10.02% - 14.05% seen in previous periods.” Id. As of September

                                  15   2022, the Algorand Foundation controls over 3 billion ALGO tokens in wallets that are publicly

                                  16   identified as for “Community and Governance Rewards,” “Ecosystem Support,” and “Foundation

                                  17   Endowment.” Id. ¶ 254. Algorand, Inc., and the Algorand Foundation promote the Algorand

                                  18   protocol on Twitter and on their respective websites.

                                  19           Kraken’s website provides investors with analysis about the price of ALGO. It states:

                                  20   “Algorand is a new public blockchain, meaning its technology, while novel, has not yet seen much

                                  21   testing under real-world market conditions . . . . Investors may also see Algorand as a viable part

                                  22   of a cryptocurrency portfolio should they believe that proof-of-stake blockchains, which lower the

                                  23   cost of participating in a blockchain’s operation, will ultimately prove more successful in the

                                  24   market.” Id. ¶ 265.

                                  25                   2.        SOL
                                  26           “SOL” is the native token of the Solana blockchain, which was created by Solana Labs,

                                  27   Inc. (“Solana Labs”), a Delaware corporation headquartered in San Francisco, founded in 2018.

                                  28   Compl. ¶ 426. Solana’s website states that the Solana blockchain is a network upon which
                                                                                         6
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                                   1   decentralized applications (“dApps”) can be built and is comprised of a platform that aims to

                                   2   improve blockchain scalability and achieve high transaction speeds. Id.

                                   3          To raise capital, between 2018 and 2020, Solana Labs conducted a series of sales to

                                   4   investors. It offered “the sale and issuance of rights to receive Solana Labs, Inc. tokens in the

                                   5   future via a Simple Agreement for Future Tokens (SAFTs).” Id. Solana Labs sold approximately

                                   6   8 million SOL and raised approximately $1.76 million in the process. Id. ¶ 429. In August 2021,

                                   7   Solana Labs completed another, purportedly private sale of SOL, this time raising $314 million

                                   8   from investors. Each of those investors paid for SOL with fiat currency and was required to sign a

                                   9   purchase agreement. Id.

                                  10          In February 2020, Solana Labs began taking steps to make SOL available for trading on

                                  11   crypto asset trading platforms. For example, in a September 17, 2020, Twitter post, Solana Labs

                                  12   stated: “The Solana community in the United States has been eagerly awaiting the chance to trade
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                                  13   SOL on a U.S. exchange, and now that day has come. SOL/USDT, SOL/USD, and SOL/BTC

                                  14   pairs are all open for trading on @ftx_us.” In another Twitter post later the same day, Solana Labs

                                  15   stated: “@BinanceUS announces Support for SOL, making it the Second US Exchange to list SOL

                                  16   within one day.” Id.

                                  17          SOL has been available for buying, selling, and trading on the Kraken Trading Platform

                                  18   and through the Kraken Services since approximately June 2021. Id. ¶ 430. At various times,

                                  19   Solano Labs publicly stated that it would pool proceeds from its private and public SOL sales in

                                  20   omnibus crypto asset wallets that it controlled and use those proceeds to fund the development,

                                  21   operations, and marketing efforts with respect to the Solana blockchain to attract more users to

                                  22   that blockchain. Id. ¶ 435. In connection to a 2021 private SOL sale, Solana Labs stated publicly

                                  23   that it would use investor funds to: (i) hire engineers and support staff to help grow Solana’s

                                  24   developer ecosystem; (ii) “accelerate the deployment of market-ready applications focused on

                                  25   onboarding the next billion users into crypto”; (iii) “launch an incubation studio to accelerate the

                                  26   development of decentralized applications and Platforms building on Solana”; and (iv) develop a

                                  27   “venture investing arm” and “trading desk dedicated to the Solana ecosystem.” Id.

                                  28          Also in public statements, Solana has described its expertise in developing blockchain
                                                                                         7
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                                   1   networks and described the efforts that it and its founders made and would continue to make to

                                   2   develop the Solana blockchain protocol and attract users to the technology. Id. ¶ 438. It also

                                   3   promoted its network in other ways, including a Solana podcast, a YouTube channel, and various

                                   4   social media accounts that are linked on its website. Id. ¶ 439. Solano “burns” (destroys) SOL

                                   5   tokens as part of a “deflationary model” to “reduce the total supply and thereby maintain a healthy

                                   6   SOL price.” Id. ¶ 441.

                                   7          On its website, Kraken describes SOL’s history, team, and development, and provides

                                   8   analysis about the price of SOL. Its website states: “Solana’s comparatively large market cap

                                   9   demonstrates the wider crypto community’s belief in the future of the Solana ecosystem,” and

                                  10   “[c]rypto market participants that see a longterm prospect in the Solana blockchain may choose to

                                  11   dollar cost average (DCA) in SOL tokens. For those not interested in timing the market or finding

                                  12   the perfect time to buy, dollar cost averaging may be the most effective strategy for accumulating
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                                  13   SOL.” Id. ¶ 444. Finally, Kraken’s website states: “By setting up a recurring buy of SOL, you can

                                  14   accumulate SOL regularly over time. Those that believe in the potential of the Solana blockchain

                                  15   over the long term may choose to simply set up a recurring buy of SOL tokens on a regular basis

                                  16   rather than making a large, one-time purchase of SOL all at once.” Id. ¶ 445.

                                  17          D.      The SEC and Cryptocurrency
                                  18          On July 25, 2017, the SEC published the Report of Investigation Pursuant to Section 21(a)

                                  19   of the Exchange Act: The DAO (the “DAO Report”). Id. ¶ 37. The DAO Report advised “those

                                  20   who would use . . . distributed ledger or blockchain-enabled means for capital raising[] to take

                                  21   appropriate steps to ensure compliance with U.S. federal securities laws,” and found that the

                                  22   offering of crypto assets at issue in the DAO report were securities offerings. Id. It urged any

                                  23   entity operating as an exchange in crypto securities to register accordingly. Id. ¶ 38.

                                  24          E.      SEC Allegations
                                  25          The SEC alleges that Kraken operates as a broker-dealer, an exchange, and a clearing

                                  26   agency for transactions in crypto asset securities on its trading platform and through related

                                  27   services. See Compl. ¶¶ 1, 446-52. The SEC asks this court to: (i) permanently enjoin the

                                  28   defendants from violating Sections 5, 15(a), and 17A of the Exchange Act; (ii) order the
                                                                                         8
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                                   1   defendants to disgorge their “ill-gotten gains,” on a joint and several basis, and pay prejudgment

                                   2   interest thereon; (iii) permanently enjoin the defendants from acting as an unregistered exchange,

                                   3   broker, or clearing agency, and (iv) impose civil monetary penalties. Kraken moves to dismiss the

                                   4   action in its entirety for failure to state a claim. See Motion to Dismiss (“Motion”) [Dkt. No. 25].

                                   5                                          LEGAL STANDARD

                                   6          Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, the Court may dismiss a

                                   7   complaint for failure to state a claim upon which relief may be granted. Dismissal may be based

                                   8   on either “the lack of a cognizable legal theory or the absence of sufficient facts alleged under a

                                   9   cognizable legal theory.” Godecke v. Kinetic Concepts, Inc., 937 F.3d 1201, 1208 (9th Cir. 2019)

                                  10   (cleaned up). A complaint must plead “sufficient factual matter, accepted as true, to state a claim

                                  11   to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (200) (cleaned up). A

                                  12   claim is plausible “when the plaintiff pleads factual content that allows the court to draw the
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                                  13   reasonable inference that the defendant is liable for the misconduct alleged.” Id. When evaluating

                                  14   a motion to dismiss, the Court “must presume all factual allegations of the complaint to be true

                                  15   and draw all reasonable inferences in favor of the nonmoving party.” Usher v. City of L.A., 828

                                  16   F.2d 556, 561 (9th Cir. 1987). “Courts must consider the complaint in its entirety, as well as other

                                  17   sources courts ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss, in particular,

                                  18   documents incorporated into the complaint by reference, and matters of which a court may take

                                  19   judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).

                                  20                                              DISCUSSION

                                  21          The central question is this: Has the SEC plausibly alleged that the third-party

                                  22   cryptocurrency assets that are sold, exchanged, and traded on Kraken form the basis of investment

                                  23   contracts such that transactions involving those assets are subject to securities laws? If the answer

                                  24   is yes, the case may proceed.

                                  25          A.      Regulation of Securities Markets
                                  26          Congress enacted the Securities Act of 1933 (the “Securities Act), Pub. L. 73-22, 48 Stat.

                                  27   74, and the Securities Exchange Act of 1934 (the “Exchange Act”), Pub. L. 73-291, 48 Stat. 881,

                                  28   to protect investors in U.S. capital markets by regulating the offer and sale of securities. The
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                                   1   Securities Act was meant to “protect investors by requiring publication of material information

                                   2   thought necessary to allow them to make informed investment decisions concerning public

                                   3   offerings of securities in interstate commerce.” Pinter v. Dahl, 486 U.S. 622, 638, 108 S.Ct. 2063,

                                   4   100 L.Ed.2d 658 (1988) (collecting cases).3 The Exchange Act, one year later, sought to “insure

                                   5   the maintenance of fair and honest markets in [securities] transactions”; it focused on the

                                   6   secondary securities market. See 15 U.S.C. § 78b. It established the Securities and Exchange

                                   7   Commission (SEC) and gave it broad authority to regulate securities.

                                   8           Section 2(1) of the Securities Act defines the term “security” to include:
                                                      any note, stock, treasury stock, security future, security-based swap,
                                   9                  bond, debenture, evidence of indebtedness, certificate of interest or
                                                      participation in any profit-sharing agreement, collateral-trust
                                  10                  certificate, preorganization certificate or subscription, transferable
                                                      share, investment contract, voting-trust certificate, certificate of
                                  11                  deposit for a security, fractional undivided interest in oil, gas, or other
                                                      mineral rights, any put, call, straddle, option, or privilege on any
                                  12                  security, certificate of deposit, or group or index of securities
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                                                      (including any interest therein or based on the value thereof), or any
                                  13                  put, call, straddle, option, or privilege entered into on a national
                                                      securities exchange relating to foreign currency, or, in general, any
                                  14                  interest or instrument commonly known as a “security”, or any
                                                      certificate of interest or participation in, temporary or interim
                                  15                  certificate for, receipt for, guarantee of, or warrant or right to
                                                      subscribe to or purchase, any of the foregoing. 15 U.S.C. § 77b(a)(1)
                                  16                  (emphasis added).
                                  17   The Securities Act defines “security” as including “investment contracts.” See 15 U.S.C. §

                                  18   77b(a)(1).

                                  19           The Supreme Court has defined an investment contract as “an investment of money in a

                                  20

                                  21   3
                                         “Sections 5(a) and (c) of the Securities Act, 15 U.S.C. § 77e(a), (c), make it unlawful to offer or
                                  22   sell a security in interstate commerce if a registration statement has not been filed as to that
                                       security, unless the transaction qualifies for an exemption from registration.” See S.E.C. v.
                                  23   Platforms Wireless Int’l Corp., 617 F.3d 1072, 1085 (9th Cir. 2010); 15 U.S.C. §§ 77e(a), (c), (e).
                                       The registration requirement arose with the 1933 Securities Act and was designed to be a principal
                                  24   statutory tool for protecting the public. See Platforms Wireless, 617 F.3d at 1085.

                                  25   To establish a Section 5 violation, the plaintiff must point to evidence that: (1) no registration
                                       statement was in effect as to the securities; (2) the defendant sold or offered to sell the securities;
                                  26   and (3) the sale or offer was made through interstate commerce. See S.E.C. v. Phan, 500 F.3d 895,
                                       902 (9th Cir. 2007) (quoting Berckeley Inv. Group, Ltd. v. Colkitt, 455 F.3d 195, 212 (3d Cir.
                                  27   2006)). “By its terms, Section 5 of the 1933 Act creates liability for any securities sale for which
                                       ‘a registration statement is [not] in effect;’ it does not limit liability to initial distribution.” See id.;
                                  28   15 U.S.C. § 77e(a).

                                                                                            10
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                                   1   common enterprise with profits to come solely from the efforts of others.” SEC v. W.J. Howey

                                   2   Co., 328 U.S. 293, 301 (1946) (Howey).4 This definition has remained largely unchanged since

                                   3   1946. The SEC alleges that certain crypto assets sold, exchanged, and traded on Kraken fall

                                   4   within the definition of “security” because they are offered and sold as “investment contracts,”

                                   5   first by their primary issuers and then by Kraken. Compl. ¶ 1.

                                   6          Kraken insists that the SEC has not plausibly alleged that these transactions meet the

                                   7   Howey test for investment contracts. It argues that the SEC cannot show an ongoing link between

                                   8   the issuer of a crypto asset and a Kraken customer, meaning that even if the primary offerings of

                                   9   the cryptocurrency assets that are later sold, exchanged, or traded on Kraken do constitute

                                  10   investment contracts, when those same assets are later traded on Kraken, they no longer pass the

                                  11   Howey test. See Kraken Reply (“Reply”) [Dkt. No. 69] 8. The SEC responds that controlling

                                  12   authority requires the court to examine the totality of the circumstances and the economic reality
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                                  13   surrounding each transaction when it determines whether a transaction qualifies as an investment

                                  14   contract; it contends that the totality of the circumstances as pleaded show that the assets available

                                  15   for transaction on Kraken form the basis of investment contracts and therefore qualify as

                                  16   securities. Oppo. 13-14. It points out that courts around the country have regularly found the sale,

                                  17   exchange, and trade of crypto assets on “secondary markets” to be investment contracts. Id.

                                  18          Howey and its progeny require any court considering whether a secondary market

                                  19   transaction constitutes an offer or sale of an investment contract to apply the same analysis that it

                                  20   would if that transaction were to occur on a primary market. The determinative factor does not

                                  21   involve the nature of the platform upon which the asset is transacted, but rather the reasonable

                                  22   expectations of the individual initiating the transaction. That analysis considers the totality of the

                                  23   circumstances and the economic reality of transaction.

                                  24

                                  25

                                  26   4
                                         As I discuss later, see infra Section C(4), the Ninth Circuit in SEC v. Glenn Turner Enterprises,
                                  27   Inc., 474 F.2d 476 (9th Cir. 1973) held that whether something constitutes an investment contract
                                       requires courts to consider “whether efforts made by those other than the investor are undeniably
                                  28   significant ones, those essential managerial efforts which affect the failure or success of the
                                       enterprise.” Id. at 482. That remains the state of the law today.
                                                                                          11
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                                              B.      The Howey Test for Investment Contracts
                                   1
                                              As discussed, the Exchange Act limits the SEC’s jurisdiction to transactions in
                                   2
                                       “securities,” which the statute provides includes “investment contracts.” 15 U.S.C § 78c(a)(10).
                                   3
                                       Though Congress has never defined “investment contract,” the United States Supreme Court
                                   4
                                       interpreted the term to mean “an investment of money in a common enterprise with profits to
                                   5
                                       come solely from the efforts of others.” Howey, 328 U.S. at 301, 66 S.Ct. 90. In Howey, the Court
                                   6
                                       found that “all the elements of a profit-seeking business are present [where] [t]he investors provide
                                   7
                                       the capital and share in the earnings and profits; the promoters manage, control, and operate the
                                   8
                                       enterprise.” Id. at 300, 66 S.Ct. 1100.
                                   9
                                              The term “investment contract” must be read broadly to address the multitude of money-
                                  10
                                       making schemes that Congress could never have anticipated in 1934 when the Securities Act was
                                  11
                                       passed. As the Court explained in Howey, “investment contract” “embodies a flexible rather than
                                  12
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                                       static principle, one that is capable of adaptation to meet the countless and variable schemes
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                                  13
                                       devised by those who seek to use the money of others on the promise of profits.” Howey, 238 U.S.
                                  14
                                       at 299, 66 S.Ct. 1100. In 1967, the Court added that when courts analyze whether a contract,
                                  15
                                       transaction, or scheme is an investment contract, “form should be disregarded for substance and
                                  16
                                       the emphasis should be on economic reality [and the] totality of circumstances.” Tcherepnin v.
                                  17
                                       Knight, 389 U.S. 332, 336, 88 S.Ct. 548, 19 L.Ed.2d 564 (1967).
                                  18
                                              The Ninth Circuit has distilled the Howey rule into a three-part test. To qualify as an
                                  19
                                       investment contract, there must be “(1) an investment of money (2) in a common enterprise (3)
                                  20
                                       with an expectation of profits produced by the efforts of others.” See Warfield v. Alaniz, 569 F.3d
                                  21
                                       1015, 1020 (9th Cir. 2009) (laying out the elements of the Howey test); Hocking v. Dubois, 885
                                  22
                                       F.2d 1449, 1456 (9th Cir. 1989). As the Ninth Circuit noted in Hocking, the first prong has proved
                                  23
                                       “relatively simple” but the second two have “evolved with time.” Hocking, 885 F.2d at 1455. The
                                  24
                                       second prong’s requirement of a “common enterprise” has been construed by the Ninth Circuit as
                                  25
                                       “demanding either an enterprise common to the investor and the seller, promoter or some third
                                  26
                                       party (vertical commonality) or an enterprise common to a group of investors (horizontal
                                  27
                                       commonality).” Id. For the third prong, demanding an expectation of profits produced by the
                                  28
                                                                                        12
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                                   1   efforts of others, the Ninth Circuit requires that “the efforts made by those other than the investor

                                   2   are the undeniably significant ones, those essential managerial efforts which affect the failure or

                                   3   success of the enterprise.” Id. (citing SEC v. Glenn Turner Enterprises, Inc., 474 F.2d 476 (9th

                                   4   Cir. 1973)). Application of these principles to the nascent cryptocurrency industry calls for careful

                                   5   examination of each party’s understandings and expectations, and analysis of substance rather than

                                   6   form. See e.g. Securities and Exchange Commission v. Binance Holdings Limited, 2024 WL

                                   7   3225974 (D.D.C. Jun. 28, 2024) (“Binance”); SEC v. Telegram Group Inc., 448 F. Supp. 3d 352,

                                   8   379 (S.D.N.Y. 2020); see also SEC v. Ripple Labs, Inc., 682 F. Supp. 3d 308, 321 (S.D.N.Y.

                                   9   2023) (“Ripple Labs I”), motion to certify appeal denied, 697 F. Supp. 3d 126 (S.D.N.Y. 2023)

                                  10   (“Ripple Labs II”).

                                  11                  1.      No Formal Contract or Post-Sale Obligations Required
                                  12          Before considering each element of Howey, I will address a baseline dispute the parties
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                                  13   have about the degree of contractual formality required for something to qualify as an investment

                                  14   contract.5 Kraken argues that an investment contract requires “post-sale obligations” from the

                                  15   issuer to the receiver; the SEC insists that it does not. The weight of authority, both recent and

                                  16   well-established, favors the SEC.

                                  17          The Ninth Circuit’s decision in Hocking v. DoBois is instructive: “In attempting to

                                  18   determine whether a scheme involves a security, the inquiry is not limited to the contract or other

                                  19   written instrument. ‘Characterization of the inducement cannot be accomplished without a

                                  20   thorough examination of the representations made by the defendants as the basis of the sale.

                                  21   Promotional materials, merchandising approaches, oral assurances and contractual agreements

                                  22   were considered in testing the nature of the product in virtually every relevant investment contract

                                  23

                                  24   5
                                         For reasons that are not obvious to me, the SEC spends a considerable amount of its opposition
                                  25   arguing that the term “investment contract” does not require a written agreement between parties.
                                       See SEC’s Opposition to Defendants’ Motion to Dismiss (“Oppo.”) [Dkt. No. 60] 7-12. This is
                                  26   odd because Kraken never argues that it does. See generally, Motion; see also Reply 3. Kraken
                                       argues that an investment contract must involve some kind—any kind—of recognizable contract.
                                  27   See Motion 10-13. But nowhere that I can find does Kraken seek to import a written agreement
                                       requirement onto the definition. Kraken does overly constrain the definition of an investment
                                  28   contract, just not in the way the SEC says it does. I will assess Kraken’s argument in support of
                                       dismissal independent of the SEC’s portrayal of that argument.
                                                                                        13
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                                   1   case.’” Hocking v. Dubois, 885 F.2d 1449, 1457 (9th Cir. 1989) (quoting Aldrich v. McCulloch

                                   2   Properties, Inc., 627 F.2d 1036, 1039-40 (10th Cir. 1980) (citations omitted)).

                                   3           Kraken points out that the Supreme Court drew the definition of “investment contract”

                                   4   from the state “blue sky” laws, and the blue sky cases all involved a contract of some kind. See

                                   5   Motion 12. It cites multiple cases for the principle that an investment contract requires some kind

                                   6   of contract. See e.g., Warfield v. Alaniz, 569 F.3d 1015, 1018, 1020-24 (9th Cir. 2009); Hocking,

                                   7   885 F.2d at 1458-59; Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1131-33 (9th Cir. 2013). While

                                   8   all these cases involved more traditional contracts than the type that the SEC alleges in this case,

                                   9   that proves little.

                                  10           Indeed, Kraken’s authority contradicts its argument. The Ninth Circuit has explained that

                                  11   in defining the term “investment contract,” Howey “uses the terms ‘contract, transition, or

                                  12   scheme,’ … leaving open the possibility that the security is not formed of one neat, tidy certificate,
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                                  13   but a general ‘scheme’ of profit seeking activities.” Hocking, 885 F.2d at 1457 (internal citations

                                  14   omitted). That principle is well-settled: Investment contracts are not limited to actual contracts.

                                  15   Numerous courts have found that crypto assets were properly alleged to form investment contracts

                                  16   in cases where there was no underlying formal written or oral contract. See e.g. Patterson v. Jump

                                  17   Trading LLC, 2024 WL 49055 (N.D. Cal. Jan. 4, 2024) (finding that the plaintiffs had plausibly

                                  18   alleged that crypto assets were offered and sold as investment contracts despite there being no

                                  19   clearly identifiable contract with post-sale obligations between the buyers on the trading platform

                                  20   and the issuer of the tokens, but dismissing the case on other grounds); Sec. & Exch. Comm’n v.

                                  21   NAC Found., LLC, 512 F. Supp. 3d 988, 995 (N.D. Cal. 2021) (applying the Howey test to crypto

                                  22   assets exchanged on the NAC Foundation blockchain and finding that the SEC had plausibly

                                  23   alleged the defendants’ sale of an unregistered security); SEC v. Terraform, 684 F. Supp. 3d 170,

                                  24   194 (S.D.N.Y. 2023) (“Terraform I”) (where the Hon. Judge Rakoff observed that “by stating that

                                  25   ‘transaction[s]’ and ‘scheme[s]’ and not just ‘contract[s]’ qualify as investment contracts, the

                                  26   Supreme Court made clear in Howey that Congress did not intend the term to apply only where the

                                  27   transacting parties had drawn up a technically valid written or oral contract under state law.”);

                                  28   SEC v. Kik Interactive, Inc., 492 F. Supp. 3d 169, 178 (D. Conn. 2020) (“[A]n ongoing contractual
                                                                                        14
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                                   1   obligation is not a necessary requirement for a finding of a common enterprise . . . The contractual

                                   2   language is important to, but not dispositive of, the common enterprise inquiry, and courts

                                   3   regularly consider representations and behavior outside the contract.”).

                                   4          Part of Kraken’s argument in favor of a stricter understanding of what qualifies as an

                                   5   investment contract may arise from the SECs inconsistent manner of discussing the assets in

                                   6   question. Sometimes the SEC strays into alleging that the crypto assets themselves—as in, the

                                   7   individual tokens bought, sold, and traded on Kraken’s platform—are investment contracts. See

                                   8   Motion 2:25-3:4. Kraken is correct that other courts have rejected this perspective. See e.g.,

                                   9   Ripple Labs I, 682 F. Supp. 3d at 324 (a digital asset “is not in and of itself” an investment

                                  10   contract under Howey); Terraform I, 684 F. Supp. 3d at 193 (the court need not “restrict its Howey

                                  11   analysis to whether the tokens themselves – apart from any of the related various investment

                                  12   protocols – constitute investment contracts”). The SEC confuses its case by referring to the assets
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                                  13   at issue as “crypto assets securities” throughout its complaint. But this is a semantics error that

                                  14   does not obscure the SEC’s theory of liability. The SEC’s theory of liability is that Kraken

                                  15   violates federal securities laws by “operating a platform on which crypto assets are offered and

                                  16   sold as investment contracts,” and that Kraken customers can buy and sell crypto assets which

                                  17   “form the basis of investment contracts covered under U.S. Securities laws.” See e.g., Compl. ¶¶

                                  18   1, 4, 60-61 (emphasis added). This is a theory that other courts have allowed to advance and is

                                  19   consistent with Howey. The SEC alleges that the circumstances surrounding the sale, purchase, or

                                  20   exchange of crypto assets on Kraken are such that those transactions involve investment contracts.

                                  21   Whether or not that is true will be determined after discovery.

                                  22          In short, the blue sky laws from which Howey drew inspiration may have involved more

                                  23   formal contracts, but the Court in Howey, the Ninth Circuit in Hocking, and numerous courts since

                                  24   have made clear that contractual formalities are not required for something to qualify as an

                                  25   investment contract, and therefore a security. What counts is the totality of the circumstances

                                  26   surrounding a sale, trade, or exchange, and the expectations of the investor. Kraken’s argument

                                  27   would improperly constrain Howey.

                                  28
                                                                                         15
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                                                      2.        Secondary Market Transactions on Kraken are Subject to the Howey
                                   1                            Test
                                   2          The parties disagree about the degree to which Kraken’s nature as a secondary market for

                                   3   cryptocurrency transactions changes the way the transactions are considered when determining

                                   4   whether the SEC has plausibly alleged that they constitute investment contracts. Ultimately, the

                                   5   resolution is simple: The Howey test applies wherever a court seeks to determine whether a

                                   6   transaction involves an investment contract, regardless of whether that transaction is on a primary

                                   7   or secondary market. As the court in Ripple Labs I anticipated, “[w]hether a secondary market

                                   8   sale constitutes an offer or sale of an investment contract would depend on the totality of the

                                   9   circumstances and the economic reality of that specific contract, transaction, or scheme.” Ripple

                                  10   Labs I, at 329, n.16.6

                                  11          The parties’ disagreement is understandable. The Ninth Circuit has not provided specific

                                  12   guidance on whether or how secondary-market cryptocurrency transactions should be examined
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                                  13   under Howey. But as Kraken noted at oral argument and in its papers, the court in Hocking did

                                  14   provide general guidance on how to determine whether a secondary market transaction is an

                                  15   investment contract. See Hocking, at 1455-56 (where the court considered whether a

                                  16   condominium that plaintiff had purchased from defendant on the secondary market formed the

                                  17   basis of an investment contract and thus constituted a security). Nothing about the nature of

                                  18   cryptocurrency necessitates analysis that departs from this precedent.

                                  19          Hocking does not support Kraken’s position as well as it thinks. In Hocking, plaintiff

                                  20   purchased a condominium and entered into a rental pool agreement (“RPA”) on the secondary

                                  21   market using an agent and brokers, whom he later sued for fraud under securities laws. See

                                  22   Hocking, at 1453. The district court entered summary judgment for the defendants, finding that

                                  23   Hocking had not purchased a security. But the Ninth Circuit reversed, finding that issues of fact

                                  24   precluded summary judgment on whether Hocking’s purchase constituted an investment contract

                                  25   and thus a security. After comparing the case to Howey and considering whether and to what

                                  26   degree Hocking’s purchase of the condominium on the secondary market rather than directly from

                                  27
                                       6
                                  28    The court did not have to consider secondary market sales in Ripple Labs I but was rather
                                       anticipating what a judge in my situation today would have to do.
                                                                                       16
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                                   1   the developer affected the purchase’s status, the court found that there were issues of fact

                                   2   precluding summary judgment concerning whether the transaction constituted an investment

                                   3   contract under Howey and remanded the matter to the district court to consider those issues.7

                                   4          The defendants in Hocking argued that his case failed as a matter of law because the

                                   5   uncontested facts established that he had not purchased a security when he purchased the

                                   6   condominium and entered the associated RPA. In weighing that argument, the court considered

                                   7   that: (1) Hocking did not purchase the condominium in the initial offering from the developer, but

                                   8   instead on the secondary market; (2) Hocking entered the relevant RPA with an entity

                                   9   disconnected from the developer; and (3) unlike the investors in Howey, Hocking could legally

                                  10   terminate his RPA at any time. But the court found none of these factors precluded as a matter of

                                  11   law Hocking’s purchase from qualifying as an investment contract subject to securities laws.

                                  12          The court held, in an en banc opinion, that “[i]n the context of isolated resales, each case
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                                  13   requires an analysis of how the [asset in question] was promoted to the investor, including any

                                  14   representations made to the investor, and the nature of the investment and the collateral

                                  15   agreements.” Hocking, at 1462. Moreover, “[t]he investor’s intentions and expectations

                                  16   communicated to the broker would be relevant in determining what investment package was

                                  17   actually offered.” Id. The court’s conclusions were entirely based on its application of the Howey

                                  18   test. See id. at 1457. The defendant in Hocking attempted to distinguish Hocking’s purchase from

                                  19   the investment in Howey by arguing that Hocking did not show what defendant argued were

                                  20   “necessary links” between the developer and the real estate agent and broker whom he sued for

                                  21   fraud. But the Ninth Circuit was unconvinced, noting that Hocking “has not claimed that [those

                                  22   individuals] sold him a security [but instead] [h]e claims that by promoting the . . . condominium

                                  23   ‘with an emphasis on the economic benefits to be derived from the managerial efforts of third

                                  24   parties designated or arranged for by [defendant],’ and by including with the condominium an

                                  25   offer for a rental arrangement . . . [defendant] offered [Hocking] a security.” Id. As Kraken noted

                                  26
                                  27   7
                                        The Ninth Circuit’s panel decision reversing and remanding the district court’s decision was
                                  28   withdrawn for rehearing en banc. The Ninth Circuit’s en banc opinion noted that the panel’s
                                       decision “may have written too broadly” on when secondary market sales constitute securities.
                                                                                      17
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                                   1   at oral argument, the court considered what the transaction looked like to the purchaser in the

                                   2   secondary market; it considered what the real estate agent represented to Hocking and what he

                                   3   possibly reasonably believed to be true of his investment as a result of those representations.8

                                   4          In short, binding authority requires the court to evaluate whether an investment contract is

                                   5   formed in a secondary market to consider the features of that secondary market transaction. It

                                   6   does not require that the court ignore anything that happened in a primary market transaction; if a

                                   7   reasonable investor would understand representations made during the primary market

                                   8   transactions to carry forward into the secondary market, then those representations may be

                                   9   considered. What matters are the reasonable expectations of the investor. That a transaction does

                                  10   not involve the asset’s primary issuer does not foreclose the possibility that the primary issuer’s

                                  11   representations follow the asset through to the secondary market.

                                  12          At oral argument, Kraken revealed that it has the same general understanding of Hocking,
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                                  13   but it reaches different conclusions when it applies the rule here. Kraken argues that the SEC fails

                                  14   to plausibly allege that the secondary market transactions on Kraken were investment contracts

                                  15   because it “[does not] analyze the alleged features of the actual transactions on Kraken,” and

                                  16   instead focuses on the actions of the primary issuers. But I do not find the allegations to be as

                                  17   sparse as Kraken says they are.

                                  18          C.      Elements of an Investment Contract
                                  19          The SEC alleges that Kraken is acting as an unregistered broker, dealer, and exchange by

                                  20
                                       8
                                  21     Some courts outside of this circuit have declined to distinguish between primary and secondary
                                       market transactions at all. See e.g. Terraform I, 684 F. Supp. 3d at 197 (holding that Howey makes
                                  22   no distinction between purchasers, and“[t]hat a purchaser bought the coins directly from the
                                       defendants, or instead, in a secondary resale transaction has no impact on whether a reasonable
                                  23   individual would objectively view the defendants’ actions and statements as evincing a promise of
                                       profits based on their efforts.”). Others have dealt with the issue directly, choosing to apply the
                                  24   Howey test with equal force to secondary market transactions and consider the economic reality
                                       surrounding them, see e.g. Ripple Labs I, 682 F. Supp. 3d at 329, n. 16 (whether a secondary
                                  25   market sale constitutes an offer or sale of an investment contract would depend on the totality of
                                       circumstances and the economic reality of that specific contract, transaction, or scheme[]”); see
                                  26   Binance, 2024 WL 3225974, at *19 (agreeing with Ripple Labs I).

                                  27   I align with those courts in the second camp but note that even those courts did not consider the
                                       exchange of third-party tokens on secondary platforms, which is at issue in this case. This appears
                                  28   to be the first case where a court has considered that situation.

                                                                                        18
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                                   1   facilitating transactions in investment contracts without registering with the SEC. Its allegations

                                   2   concern crypto assets that are not issued by Kraken but by other cryptocurrency networks; the

                                   3   third party-issued tokens then form the basis of transactions on Kraken. As discussed, the fact that

                                   4   the transactions in question occurred on a secondary market does not by itself prevent those

                                   5   transactions from involving investment contracts, it simply means that the Howey test must be

                                   6   applied to the transactions as they occurred on the secondary market. While the other cited cases

                                   7   did not involve transactions with third-party tokens, those transactions are still subject to the

                                   8   Howey test.

                                   9                  1.      The Crypto Assets Are Not Themselves Investment Contracts
                                  10          Numerous courts have distinguished between the digital assets and the offers to sell them

                                  11   before engaging in an analysis of whether cryptocurrency transactions constitute investment

                                  12   contracts. The distinction is valuable. Although the way the SEC labels the crypto assets at
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                                  13   issue—as “crypto asset securities”—is unclear at best and confusing at worst, I do not understand

                                  14   the SEC to be alleging that the individual cryptocurrency tokens in which Kraken enables

                                  15   transactions are themselves securities. The meat of the SEC’s pleadings alleges that during their

                                  16   initial offerings and throughout subsequent transactions on Kraken, those assets were offered as,

                                  17   or sold as, investment contracts. See e.g., Compl. ¶¶ 62-64. This is an acceptable framing, and

                                  18   one that the SEC has repeatedly advanced in other cases.

                                  19          The court in Ripple Labs I makes that point. She said, “Howey and its progeny have held

                                  20   that a variety of tangible and intangible assets can serve as the subject of an investment contract . .

                                  21   . . In each of these cases, the subject of the investment contract was a standalone commodity,

                                  22   which was not itself inherently an investment contract. Here, defendants argue that [the crypto

                                  23   asset] does not have the ‘character in commerce’ of a security and is akin to other ‘ordinary assets’

                                  24   like gold, silver, and sugar . . . This argument misses the point because ordinary assets – like gold,

                                  25   silver, and sugar – may be sold as investment contracts, depending on the circumstances of those

                                  26   sales.” Ripple Labs I, 682 F. Supp. 3d at 324. This is consistent with the Supreme Court’s earliest

                                  27   analysis of what constitutes an investment contract; the seminal investment contract case, Howey,

                                  28   considered the economic realities surrounding orange groves and investors’ expectations
                                                                                         19
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                                   1   surrounding them. Orange groves are no more securities than cryptocurrency tokens are. But the

                                   2   contracts and expectations surrounding the sale of both may form an investment contract, bringing

                                   3   them within the purview of the Act. See Howey, 328 U.S. 293, 66 S.Ct. 1100.9

                                   4                  2.      “Investment of Money”
                                   5          An investment contract requires an investment of money in a common enterprise. See

                                   6   Howey, at 293; see also Warfield v. Alaniz, 569 F.3d 1015, 1020 (9th Cir. 2009). The SEC must

                                   7   first show that “the investor commit[ed] his assets to the enterprise in such a manner as to subject

                                   8   himself to financial loss.” See Warfield, 569 F.3d at 1021; see also Patterson v. Jump Trading,

                                   9   LLC, 2024 WL 49055, at *11 (N.D. Cal. Jan 4, 2024) (citing Warfield). It alleges that investors

                                  10   committed fiat currency or crypto assets for the crypto assets available for purchase, sale, and

                                  11   trade on Kraken’s network. See Compl. ¶¶ 229, 243, 270, 284-86, 290, 317-18, 338, 354, 375,

                                  12   381, 393, 408, 428-29. This constitutes an investment of money in an enterprise.
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                                  13           Kraken agrees that the initial offering of the Kraken-Traded digital assets involve an

                                  14   investment of money. Motion 16-17. But it argues that once the asset hits the resale market on

                                  15   Kraken’s platform, that investment does not follow the asset, meaning that an asset that may have

                                  16   originally met the first Howey prong no longer does upon resale. Kraken’s perspective is too

                                  17   narrow.10

                                  18          The Court in Howey said nothing about an investment of money requiring privity between

                                  19   the issuer and the investor, nor has Congress ever drawn such boundaries around what constitutes

                                  20   an investment contract. It defies common sense to suggest that when someone purchases crypto

                                  21   assets from a reseller or another investor, that person or entity does not understand themselves to

                                  22   be investing money in the asset. The Ninth Circuit has held that the investment of money in

                                  23
                                       9
                                  24    The SEC should be careful going forward to maintain this distinction. To the extent it tries to
                                       argue that the individual tokens that form the basis of transactions on Kraken are investment
                                  25   contracts, or are themselves securities, its argument cannot proceed.
                                       10
                                  26      See e.g. SEC v. Coinbase, Inc., 2024 WL 1304037, at *24 (S.D.N.Y. Mar. 27, 2024); Terraform
                                       I, 684 F. Supp 3d at 197; In re Ripple Labs, Inc. Litig., No. 18-cv-06753-PJH, 2024 WL 3074379
                                  27   (N.D. Cal. June 20, 2024) (where the Hon. Phyllis Hamilton, at summary judgment in a private
                                       securities class action, declined to find that there was no “investment of money” from exchange-
                                  28   based purchasers as a matter of law, basing her conclusion partly on the decisions in Coinbase and
                                       Terraform I).
                                                                                           20
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                                   1   question does not have to go to the issuer of the would-be investment contract; it can go to a third-

                                   2   party. See Hocking v. Dubois, 885 F.2d 1449, 1459 (9th Cir. 1989).11

                                   3          Recently, Judge Hamilton refused to find as a matter of law that crypto purchasers on a

                                   4   secondary market had not made an “investment of money” sufficient to satisfy the Howey test.

                                   5   See In re Ripple Labs, Inc. Litigation, 2024 WL 3074379, at *7 (N.D. Cal. Jun. 20, 2024).

                                   6   Defendants there argued that there was no investment of money from exchange-based purchasers

                                   7   because their money went to the exchange sellers, rather than directly to defendants, who were the

                                   8   primary issuers of the relevant crypto asset. Id. But Judge Hamilton noted that other courts had

                                   9   rejected that argument, and defendants cited no caselaw that supported their position. See id.

                                  10   (collecting cases).

                                  11          Kraken has failed to point to any case that would support its position on the first Howey

                                  12   prong. The SEC has plausibly alleged that Kraken users who purchased assets on Kraken’s
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                                  13   platform made an “investment of money.”12

                                  14
                                       11
                                  15      This makes Inline Utilities, LLC v. Schreiber, 2020 WL 4464463 (S.D. Cal. Aug. 4, 2020)
                                       (Inline), a case upon which Kraken relies for its argument that the SEC has not plausibly alleged
                                  16   an “investment of money”, inapplicable. The plaintiff in Inline alleged that a lump sum payment it
                                       made to defendants to secure for itself a portion of defendants’ future revenue formed the basis of
                                  17   an investment contract, such that defendants’ eventual refusal to pay plaintiff the agreed-upon
                                       portion constituted security fraud. See Inline, 2020 WL 4464463, at *2-*3. In dismissing the
                                  18   case, the court found no investment of money under Howey for several reasons, none of which are
                                       applicable here. For example, the court observed that “[w]hile Plaintiff may have invested in
                                  19   Defendants, Defendants’ profits seemingly were not dependent upon Plaintiff’s investment.” Id. at
                                       *3. In contrast, here, the SEC alleges that money purchasers invested in crypto assets directly
                                  20   contributed both to the profits of the assets’ issuers and to Kraken’s profits. Moreover, plaintiff in
                                       Inline did not allege that defendants “actively invested in [the] profit-sharing contract . . . plaintiff
                                  21   simply gave money to Defendants and, in return, Defendants allegedly agreed to pay Plaintiff a
                                       fixed percentage of their share [of the contract-generated revenue].” Id. Here, it can hardly be
                                  22   argued that purchasing cryptocurrency is not an investment; the cryptocurrency market is volatile,
                                       and there are no guaranteed returns. The Inline court also held that where investors are “several
                                  23   steps removed from an investment in any actual contract or enterprise,” the first Howey prong is
                                       not satisfied. Id. Kraken seizes upon this language to argue that because the assets at-issue were
                                  24   originally purchased from issuers, not Kraken, the degrees of separation diffuse any investment of
                                       money that happened at the original transaction. But as the court held in Hocking, the investment
                                  25   of money need not go to the issuer of the would-be investment contract; it can go to a third party.
                                       The critical component is that the investor part with her money.
                                  26   12
                                          The SEC’s allegations in this case are distinguishable from those that the Hon. Amy Berman
                                  27   Jackson found implausible in SEC v. Binance Holdings Limited, 2024 WL 3225974 (Jun. 28,
                                       2024) (“Binance”). There, while Judge Jackson allowed several claims to proceed, she did not
                                  28   allow a claim alleging that Binance offered and sold BUSD (a token issued on another blockchain,
                                       Ethereum) as an investment contract and therefore a security. See Binance, at *25. This was
                                                                                         21
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                                                      3.      “Common Enterprise”
                                   1
                                              The closest question is whether the SEC has plausibly alleged that Kraken users invested
                                   2
                                       their money in a “common enterprise” as is required by the second Howey prong. Kraken argues
                                   3
                                       that “[w]ithout any connection between the issuers and Kraken customers, the SEC . . . cannot
                                   4
                                       demonstrate a common enterprise.” Motion 17:7-10. The SEC responds that Kraken’s position
                                   5
                                       reflects a self-serving, narrow interpretation of Howey and its progeny. Both parties insist the
                                   6
                                       caselaw is on their side. In truth, this situation is sufficiently novel to render the caselaw
                                   7
                                       instructive only to a point.
                                   8
                                              The Ninth Circuit defined the term “common enterprise” to mean “one in which the
                                   9
                                       fortunes of the investor are interwoven with and dependent upon the efforts and success of those
                                  10
                                       seeking the investment of third parties.” SEC v. Glenn Turner Enterprises, Inc., 474 F.2d 476,
                                  11
                                       482, n.7 (9th Cir. 1973). A “common enterprise” exists where the investment scheme involves
                                  12
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                                       either “strict vertical commonality” or “horizontal commonality.” See Hocking, 885 F.2d at 1455;
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                                  13
                                       see also Sec. & Exch. Comm’n v. Wahi, No. 2:22-CV-01009-TL, 2024 WL 896148, at *5 (W.D.
                                  14
                                       Wash. Mar. 1, 2024) (explaining that a common enterprise requires “either an enterprise common
                                  15
                                       to the investor and the seller, promoter or some third party (vertical commonality) or an enterprise
                                  16
                                       common to a group of investors (horizontal commonality).”) (citing Hocking, 885 F.2d at 1455)).
                                  17
                                              Vertical commonality may be established by showing “ ‘that the fortunes of the investors
                                  18
                                       are linked with those of the promoters.’” S.E.C. v. R.G. Reynolds Enterprises, Inc., 952 F. 2d
                                  19
                                       1125, 1130 (9th Cir. 1991) (quoting SEC v. Goldfield Deep Mines Co. of Nevada, 758 F. 2d 459,
                                  20
                                       463 (9th Cir. 1985)). “One indicator of vertical commonality, though by no means the only
                                  21

                                  22

                                  23   because while the SEC did allege that Binance offered and sold BUSD to investors on its platform,
                                       the way BUSD was promoted led potential buyers to believe the proceeds from their purchase
                                  24   would be used exclusively on “profit-generating opportunities” for the benefit of Binance and
                                       another company. Judge Jackson observed that there were “[n]o facts alleged to support an
                                  25   inference that this [plan] advanced the fortunes of those who bought the BUSD tokens, or that
                                       they reasonably expected to share in the companies’ profits in the form of a return on their
                                  26   investment.” Id. The same is not true here, where the SEC has alleged, with respect to many
                                       crypto assets offered on Kraken, that those assets’ promoters represented to potential investors that
                                  27   they could expect to personally profit from their purchase, often as a result of network
                                       development efforts put forth by the promoters and networks themselves. Kraken allegedly
                                  28   republished some of those representations.

                                                                                          22
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                                   1   indicator, is an arrangement to share profits on a percentage basis between the investor and the

                                   2   seller or promoter.” Id.

                                   3             Kraken argues that the SEC has failed to plead facts showing vertical commonality

                                   4   because the Complaint “alleges no relationship . . . between any issuer and purchaser on Kraken,”

                                   5   and there are “no plausible allegations that the success of the issuer’s enterprise was ‘interwoven’

                                   6   or directly correlated with the profits or losses of the buyer, as the Ninth Circuit requires.” Motion

                                   7   18:6-225 (quoting Brodt v. Bache & Co., Inc, 595 F.2d 459, at 460-61 (9th Cir. 1978)). I disagree.

                                   8   The Complaint alleges that the fortunes of promoters and investors are linked to the value of the

                                   9   various crypto assets that are sold, exchanged, and traded on Kraken. Compl. ¶¶ 231-32, 242, 246,

                                  10   252-54. 272, 278, 288, 298, 307, 320, 325-26, 342, 345, 357, 363, 377, 383, 387, 395, 398, 411,

                                  11   414, 432, 436. This is because the promoters of some crypto assets on Kraken allegedly retain

                                  12   ownership or control over billions of the tokens they promote. See Compl. ¶¶ 240, 253 (alleging
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                                  13   that the Algorand Foundation, which issues the ALGO token, “controls over 3 billion ALGO

                                  14   tokens in wallets publicly identified as for ‘Community and Governance Rewards,’ ‘Ecosystem

                                  15   Support,’ and ‘Foundation Endowment’”). The SEC points out that courts in this district have

                                  16   found a common enterprise where the SEC alleged that promoters of a crypto asset held a

                                  17   “significant amount” of the asset they promote, and pooled proceeds to develop a blockchain

                                  18   ecosystem. See Jump Trading, 2024 WL 49055, at *1.

                                  19             Kraken offers the recent decision from the District Court for the District of Columbia, SEC

                                  20   v. Binance Holdings Limited, 2024 WL 3225974 (D.D.C. Jun. 28, 2024) as authority disfavoring

                                  21   the SEC’s position.13 There, the court carefully considered, among other things, whether the SEC

                                  22   had plausibly alleged that defendant Binance enabled transactions in investment contracts when it

                                  23   offered its native cryptocurrency, BNB, for sale, exchange, and trade on its platform. Binance

                                  24   moved to dismiss on the grounds that secondary market transactions were not investment contracts

                                  25   under Howey, making a very similar argument to the one Kraken advances in this case. See id. at

                                  26   *19. The court found the “absence of allegations” on how the assets in question were sold and

                                  27
                                       13
                                  28        The parties provided supplemental briefing on SEC v. Binance. See Dkt. Nos. 88, 89.

                                                                                         23
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                                   1   what a purchaser in the marketplace would reasonably understand that asset to represent to justify

                                   2   dismissal of the SEC’s claims with respect to secondary market transactions. See id. It said that

                                   3   the SEC’s complaint in Binance contained “very little concerning how BNB was actually

                                   4   promoted and sold after the [initial offering].” Id.

                                   5           The Binance court followed the approach in Ripple Labs I to evaluating secondary market

                                   6   transactions: “Whether a secondary market sale constitutes an offer or sale of an investment

                                   7   contract would depend on the totality of circumstances and the economic reality of that specific

                                   8   contract, transaction, or scheme.” Binance, at *19 (quoting Ripple Labs I, 682 F. Supp. 3d at 329,

                                   9   n.16). The court found the SEC’s allegations on secondary market transactions to be scant; it

                                  10   wrote that the SEC’s complaint “repeatedly hearken[ed] back to ‘the circumstances under which

                                  11   the assets in this case were offered and sold’ . . . but those do not go so far as to establish its

                                  12   contention that ‘BNB is offered and sold as an investment contract’.” Id. at *20. Essentially, the
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                                  13   SEC’s allegations in Binance did not advance much further than the initial coin offering (“ICO”).

                                  14   As the court noted, “[i]t may be that the SEC can establish that sales after the ICO or certain

                                  15   groups of secondary sales meet the criteria of an investment contract,” as it did in Telegram, 448

                                  16   F. Supp. 3d 380-81 (finding based upon all of the surrounding facts and circumstances that

                                  17   secondary sales of the crypto currencies at issue were an offering of securities under Howey

                                  18   because the crypto currencies were initially sold with the intent that the institutional buyers re-sell

                                  19   them on the secondary market).

                                  20           The SEC’s allegations here are more fulsome than they were in Binance. First, the SEC

                                  21   does not lean, as it did in Binance, on the “contradictory” allegation that the crypto assets

                                  22   themselves are securities. Compare Binance, at *21-*22 (recapping the motion hearing and

                                  23   stating that “[i]nsisting that an asset that was the subject of an alleged investment contract is itself

                                  24   a ‘security’ as it moves forward in commerce and is bought and sold by private individuals on any

                                  25   number of exchanges, and is used in any number of ways over an indefinite period of time, marks

                                  26   a departure from the Howey framework that leaves the Court, the industry, and future buyers and

                                  27   sellers with no clear differentiating principle between tokens in the marketplace that are securities

                                  28   and tokens that aren’t”), with Compl. ¶ 1 (“[s]ince 2013, Kraken has operated an online trading
                                                                                           24
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                                   1   platform through which its customers can buy and sell crypto assets, many of which form the basis

                                   2   of investment contracts covered under U.S. securities laws”), and Compl. ¶ 14 (alleging that

                                   3   Kraken allows “many of the crypto assets” in question to be “offered, bought and sold as

                                   4   investment contracts”), and Compl. ¶ 61 (“[e]ach of the Kraken-Traded Securities was offered and

                                   5   sold as part of an investment contract”) (emphasis added in each).14

                                   6          The SEC’s allegations in Binance forced the court to apply the Howey test to the crypto

                                   7   assets themselves. See Binance, at *22. And even then, the court noted that “[i]t may well be, as

                                   8   the government maintains, that the ‘common enterprise’ is ongoing, since the fortunes of all token

                                   9   holders rise and fall together and that their fortunes are largely tied to those of the company and its

                                  10   platform or ‘ecosystem,’ but that element alone is not sufficient.” Id. In Binance, unlike here, see

                                  11   infra Section C(4), the SEC did not allege that investors had any “expectation of profits” in the

                                  12   form of a return on investment generated by the efforts of others.
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                                  13          Here, the SEC has plausibly alleged vertical commonality between the investors using

                                  14   Kraken to purchase crypto assets and the promoters whose job it is to promote those assets and

                                  15   grow their associated networks. This allegation is sufficient to meet the second Howey prong, at

                                  16   least at this stage. Whether it can ultimately prove that commonality remains to be seen.15

                                  17                  4.      “Expectation of Profits Due to Efforts of Others”
                                  18          The third Howey prong requires that the SEC plausibly allege that the investor has been led

                                  19   to expect profits produced by the efforts of others. Rubera, 350 F.3d at 1090-91; Hocking, 885

                                  20   F.2d at 1460. Kraken argues that the SEC has failed to meet this standard for three main reasons.

                                  21          First, it asserts that “binding precedent distinguishes between investing in a business . . .

                                  22   and buying the output of a business.” Motion 19; Reply 13:9-19 (comparing the crypto assets on

                                  23

                                  24   14
                                          As discussed earlier, the SEC’s complaint here does occasionally stray into referring to the
                                  25   crypto assets themselves as securities, and to the extent it does, I do not credit its allegations. But
                                       it more consistently asserts that the crypto assets offered for sale, exchange, and trade on Kraken’s
                                  26   platform form the bases for investment contracts, because Kraken users invest money into those
                                       assets with the expectation of profits due to efforts advertised by the assets’ issuers, and
                                  27   rebroadcast by Kraken.
                                       15
                                  28     Because the SEC has plausibly alleged vertical commonality between investors and promotors, I
                                       do not address whether it has also plausibly alleged horizontal commonality.
                                                                                        25
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                                   1   Kraken to gold and silver purchased by investors in other cases, where courts found that those

                                   2   investors could not reasonably expect the seller to influence global precious metal markets, so the

                                   3   third Howey prong was unmet). This argument comes up short because the Complaint alleges that

                                   4   promoters for the various crypto assets identified by the SEC worked to create the networks or

                                   5   “ecosystems” that would support the value of the digital assets they distributed. See e.g. Compl.

                                   6   ¶¶ 238, 263, 297. Kraken says that the Complaint does not allege that the crypto assets in question

                                   7   were dependent upon the efforts of the issuers to remain on the market. Reply 13:16-19. But it

                                   8   points to no caselaw suggesting that the SEC must so allege; the Ninth Circuit requires that the

                                   9   investor have an expectation of profit arising from others’ efforts, not that she would have zero

                                  10   expectation of profit but for that effort. See Glenn, 474 F.2d at 482 (liberally interpreting the final

                                  11   Howey element, which calls for an expectation of profits “solely” from the efforts of others, and

                                  12   adopting a “more realistic test, whether efforts made by those other than the investor are
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                                  13   undeniably significant ones, those essential managerial efforts which affect the failure or success

                                  14   of the enterprise.”) (emphasis added).

                                  15          Second, Kraken contends that promotional statements alone are insufficient without a

                                  16   “‘reference in the contracts to an obligation,’ which the SEC concedes is absent here.” Reply 14:1-

                                  17   11; Motion 20-21. Again, the caselaw does not support its position. The case it relies upon, De

                                  18   Luz Ranchos Inv., Ltd. v. Coldwell Banker & Co., 608 F.2d 1297 (9th Cir. 1979), where the court

                                  19   considered whether a land sale contract constituted an investment contract, does not say that the

                                  20   third Howey prong requires a per se obligation to improve the subject of the would-be investment

                                  21   contract. Rather, the court merely noted the absence of such a contractual obligation, along with

                                  22   other factors, when determining that the promotional statements in that case were insufficient to

                                  23   confer upon the plaintiff a reasonable expectation of profits from the efforts of others. Moreover,

                                  24   De Luz is inapposite because the promotional statements that the court considered were vaguer

                                  25   than those the SEC alleges here.16 Compare Compl. ¶¶ 238, 260-63, 297, 438-39 (detailing the

                                  26
                                  27   16
                                         Kraken first cited De Luz for the idea that an investment contract required post-sale obligations,
                                  28   an argument I already discredited. See Supra Section A(1).

                                                                                         26
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                                   1   specific promises various promoters made about network development, including the Algorand

                                   2   Foundation’s promises about its ALGO token, and Solana’s promises about its SOL token), with

                                   3   De Luz, 608 F.2d at 1301 (stating that defendant never represented it would “develop, improve, or

                                   4   manage” parcels of land in which plaintiff invested). Nevertheless, Kraken insists that the fact

                                   5   that it republished the promotional statements made by the issuers of the cryptocurrency available

                                   6   for transactions on its platform “does not rescue the Complaint,” because none of the statements

                                   7   create “a contractual obligation by the issuer.” Motion 21:23-22:7. They did not have to.

                                   8          Finally, Kraken compares this case to Ripple Labs I, where the court held on summary

                                   9   judgment that purchasers on digital asset trading platforms (including Kraken) had no reasonable

                                  10   expectation of profits. It determined that the “economic reality” showed that the third Howey

                                  11   prong was unsatisfied where there was no relationship between the alleged issuer and the

                                  12   purchasers on digital asset platforms. Ripple, 682 F. Supp. 3d at 328-30. It explicitly declined to
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                                  13   address whether secondary market sales of the crypto asset in question constituted offers and sales

                                  14   of investment contracts because the question was not before her. The court’s opinion is carefully

                                  15   constrained to the facts of the case and predicated on findings from a fully developed record.

                                  16   Again, “[w]hether a secondary market sale constitutes an offer or sale of an investment contract

                                  17   would depend on the totality of circumstances and the economic reality of that specific contract,

                                  18   transaction, or scheme.” Ripple Labs I, at 329, n.16 (citing Marine Bank, 455 U.S. at 560 n.11,

                                  19   102 S.Ct. 1220; Telegram, 448 F. Supp. 3d at 379). As discussed, the way the court foreshadowed

                                  20   how a court would have to consider secondary market sales of crypto assets is consistent with the

                                  21   Ninth Circuit’s holding in Hocking. See Hocking, 885 F.2d at 1462 (declining to recognize an

                                  22   absolute rule about when secondary market transactions involve a security and noting that Howey

                                  23   requires the examination of the “economic reality” of each secondary market transaction,

                                  24   including analysis of how assets are promoted to investors, and what the investor’s intentions and

                                  25   expectations were when they invested).

                                  26          The SEC has plausibly alleged that investors in crypto assets offered on Kraken possessed

                                  27   an expectation of profits from the efforts of others that they derived from the promoters’

                                  28   representations that Kraken republished and reasserted on its platform. Whether or not the record
                                                                                        27
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                                   1   ultimately supports that allegation will be revealed through discovery.

                                   2          D.      Major Questions Doctrine
                                   3          Finally, Kraken, and its numerous amici, insist that the question posed in this case is the

                                   4   kind reserved for Congress, because resolution of the dispute in the SEC’s favor would expand its

                                   5   regulatory power. Other courts have already considered whether similar claims brought by the

                                   6   SEC violate the major questions doctrine and found that they do not.17 The same is true here.

                                   7          The major questions doctrine originates from the idea that Congress does not delegate

                                   8   extraordinary powers that transform an agency’s authority without making its intent clear. See

                                   9   West Virginia v. EPA, 597 U.S. 697, 716, 142 S. Ct. 2587 (2022) (noting that under the major

                                  10   questions doctrine, courts “expect Congress to speak clearly if it wishes to assign to an agency

                                  11   decision of vast economic and political significance”). Put another way, the major questions

                                  12   doctrine requires that in the “extraordinary” case where an agency claims “power to regulate a
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                                  13   significant portion of the American economy” that has “vast economic and political significance,”

                                  14   that agency must show it has “clear congressional authorization.” Util. Air. Regul. Grp. v. EPA,

                                  15   573 U.S. 302, 324, 134 S.Ct. 2427, 189 L.Ed.2d 372 (2014) (citations omitted).

                                  16          This is not such a case. The cryptocurrency industry “falls far short of being a ‘portion of

                                  17   the American economy’ bearing ‘vast economic and political significance.’” SEC v. Coinbase,

                                  18   Inc., No. 23 CIV. 4738 (KPF), 2024 WL 1304037, at *13 (S.D.N.Y. Mar. 27, 2024) (quoting

                                  19   Terraform I, 684 F. Supp. 3d at 189-91)). Of the few cases where the Supreme Court has found it

                                  20   proper to invoke the major questions doctrine, each involved a proposed regulation that would

                                  21   have far greater impact on the economy than what the SEC proposes here. See e.g., West Virginia,

                                  22   597 U.S. at 724, 142 S.Ct. 2587 (Clean Power Plan was major because it would empower the

                                  23   Environmental Protection Agency to “substantially restructure the American energy market); see

                                  24   N.C. Coastal Fisheries Reform Grp. V. Capt. Gaston LLC, 76 F.4th 291 (4th Cir. 2003) (holding

                                  25   an EPA regulation that would impact every commercial or recreational fisherman raised a major

                                  26   question); Biden v. Nebraska, 143 S. Ct. 2375, 2373 (2023) (student loan forgiveness program

                                  27
                                       17
                                  28     The motions for leave to file amicus briefs appearing at Dkt. Nos. 40, 41, 47, 50, 51, 53, and 65
                                       are all GRANTED. They were interesting if not persuasive.
                                                                                       28
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                                   1   proposed by President Biden was major insofar as it aimed to forgive approximately $430 billion

                                   2   in debt); FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120 (2000) (holding that a

                                   3   newfound regulation of the tobacco industry was a regulatory overreach). All these cases involved

                                   4   industries with a far stronger foothold in the American economy or political sphere or both than

                                   5   this one does.

                                   6          Moreover, the SEC is not asserting a “transformative expansion in its regulatory authority”

                                   7   or a “highly consequential power beyond what Congress could reasonably be understood to have

                                   8   granted it.” See West Virginia, 597 U.S. at 724. While cryptocurrency itself is a relatively novel

                                   9   financial instrument, the principles driving the SEC’s attempt to assert regulatory authority over it

                                  10   are not new.

                                  11                                             CONCLUSION

                                  12          For the foregoing reasons, the motion is DENIED. Defendants shall answer the Complaint
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                                  13   within 20 days of this Order. A further Case Management Conference is set for October 15, 2024,

                                  14   at 2 p.m. by video conference. The Joint Statement, to be filed by October 8, 2024, shall include a

                                  15   proposed case schedule and trial date. The previously set CMC for January 14, 2025, is

                                  16   VACATED.

                                  17          IT IS SO ORDERED.

                                  18          Dated: August 23, 2024

                                  19

                                  20
                                                                                                     William H. Orrick
                                  21                                                                 United States District Judge
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